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                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

JAAFAR TSOULI-MOUFID,

      PLAINTIFF,

v.                                                 Case No: 2:19-cv-05400-GEKP

CREDIT CONTROL, LLC,

      DEFENDANT.


                       DEFENDANT CREDIT CONTROL, LLC’S
                   RESPONSE TO PLAINTIFF’S MOTION TO DISMISS

       Defendant Credit Control, LLC (“Credit Control”), by and through its undersigned

counsel, hereby responds to Plaintiff’s Motion to Dismiss with Prejudice as follows:

       1.       Credit Control does not oppose the dismissal of this action with prejudice and the

cancellation of the arbitration scheduled for April 15, 2020. However, Credit Control requests

that this Court retain jurisdiction to consider its motion for fees and costs.

       2.       Credit Control did not agree to enter a stipulation of dismissal by which each

party agreed to bear its own fees and costs because, for the reasons outlined below, Credit

Control intends to bring a motion for fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), 28

U.S.C. § 1927, and/or the Court’s inherent power.

       3.       The operative claims asserted in Plaintiff’s complaint had absolutely no basis in

fact and are clearly contradicted by Defendant’s records. Moreover, Plaintiff and his counsel

knew that those claims had no factual basis when the Complaint was filed in state court and

when Plaintiff pursued discovery following removal to this Court.




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       4.       Among the baseless claims asserted in the Complaint, which Plaintiff knew or

should have known to be false are:

                a.     “Plaintiff alleges and avers that Defendant contacted Plaintiff at irregular

                times and places, and often hung up before identifying itself, only to call right

                back, in violation of 15 U.S.C. §§ 1692c(a)(1) and d.” Complaint at ¶ 14.

                b.     “Plaintiff alleges and avers that Defendant sought to collect amounts

                comprised largely of improper fees and/or interest, and Defendant’s collection

                efforts were thus in violation of 15 U.S.C. §§ 1692e and f.” Complaint at ¶ 15.

                c.     “Plaintiff alleges and avers that Defendant’s letter fails to inform Plaintiff

                that litigation premised on the alleged debt is barred by the applicable statute of

                limitations…” Complaint at ¶ 16.

                d.     “Plaintiff alleges and avers that there is no written agreement between

                Plaintiff and AMERICAN HONDA FINANCE CORPORATION authorizing

                third-party collection of any debts or evidencing the opening of an account, and

                Defendant’s collection efforts are not authorized by law or contract, in violation

                of 15 U.S.C. §§ 1692e and f.” Complaint at ¶ 17.

                e.     “Plaintiff alleges and avers that Defendants’ (sic) repeatedly and

                continuously called Plaintiff telephonically, as well as unrelated third-parties, at

                irregular times and places, and failed to identify itself and inform Plaintiff of his

                rights, in violation of 15 U.S.C. §§§ 1692c(a)(1), d and g.” Complaint at ¶ 18.

                f.     “Plaintiff alleges and avers that Defendants communicated false credit

                information by failing to notify the major credit bureaus of the actual status of the




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                alleged ‘debt,’ despite repeated notice that Plaintiff disputed same, in violation of

                15 U.S.C. § 1692e.” Complaint at ¶ 19.

       5.       Credit Control’s records show that these allegations are completely baseless.

Furthermore, these assertions were not made by mistake. Plaintiff knew, or could have easily

discovered through the most cursory pre-suit investigation, that:

                a.     Plaintiff entered and signed a Closed-End Vehicle Lease Agreement with

                Honda Financial Services (“Honda”) on April 20, 2016.

                b.     All amounts that Credit Control attempted to collect were authorized

                Plaintiff’s agreement with Honda.

                c.     Plaintiff made payments on his obligation to Honda through November

                2017, meaning that the debt could not have been barred by any statute of

                limitations when Credit Control made its collection attempts in 2018.

                d.     Credit Control did not credit report the debt to any credit bureau, thus

                Plaintiff had no basis for alleging that Credit Control reported false credit

                information. Also, Plaintiff never communicated with Credit Control and certainly

                never disputed the debt to Credit Control, thus Credit Control had no reason to

                report that the debt was disputed.

                e.     Credit Control never placed any calls in the manner or frequency alleged

                in the Complaint.

       6.       Credit Control intended to take Plaintiff’s deposition to create a record showing

that his allegations were without merit and that the Complaint was brought in bad faith and for

the purpose of harassing Credit Control into paying a “nuisance” settlement. However, Plaintiff

decided to dismiss his claims rather than appear for deposition.


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       7.       As the emails attached to Plaintiff’s Motion to Dismiss demonstrate, Plaintiff’s

counsel continued to push for a settlement even after Credit Control had produced documents

showing that the allegations in the Complaint were false. Two days before the scheduled

deposition, Plaintiff’s counsel proposed a settlement for $750.00, plus an agreement to cease

contact and credit reporting (Credit Control had already ceased contact and it never credit

reported Plaintiff’s account). This final demand was obviously based on a hope that Credit

Control would be unable to prove that it provided the notice required by 15 U.S.C. § 1692g.

After Credit Control produced a copy of the letter containing the § 1692g notice, Plaintiff’s

counsel agreed to dismiss the complaint on the eve of Plaintiff’s deposition.

       8.       This is the fourth case defended by Credit Control in two years in which

Plaintiff’s counsel asserted similar allegations, all without any basis in fact and often using the

exact wording found in the Complaint in this case. Each of the prior three cases was voluntarily

dismissed following Credit Control’s response to written discovery, and notably before Credit

Control was able to take the deposition of the Plaintiff.

       9.       Each time Credit Control is forced to defend one of these meritless cases, it incurs

attorneys’ fees. Moreover, Credit Control’s business is interrupted, and it is required to devote

staff and other resources to answer discovery requests that can only be characterized as a “fishing

expedition.”

       10.      Understandably, Credit Control has decided that four cases of this type are

enough, and it intends to seek its fees and costs in defending this case.

       11.      Credit Control requests that this Court retain jurisdiction to consider Credit

Control’s motion for sanctions, and that it allow Credit Control twenty-one (21) days, or until

April 24, 2020, to file its motion and its memorandum of law.


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       WHEREFORE, Credit Control, LLC requests that this Honorable Court dismiss

Plaintiff’s claims with prejudice, retain jurisdiction to consider Credit Control’s motion for

sanctions, and grant Credit Control twenty-one (21) days in which to file its motion and

memorandum of law.

Dated: April 3, 2020

                                                    Respectfully submitted,

                                                    MAURICE WUTSCHER, LLP
                                                    Attorneys for Defendant
                                                    Credit Control, LLC

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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct of the foregoing response was served on this date

via the electronic filing system:


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April 3, 2020

                                                    /s/ Shannon Miller
                                                    Shannon Miller, Esq.




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